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iN THE UN|TED STATES D|STR|CT COURT » tires iiih , _ 1

 

   

_ __*., __D.C.
FoR THE wEsTERN DisTRicT oF TENNEssEE
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uNiTED sTATEs oF AMERicA WE;L§'F‘ lt iii§§ik.ptiis

P|aintiff

VS.
CR. NO. 05-20107-D

JERE|V||AH COLL|NS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAV
AND SETTlNG

 

This cause came on for a report date on IV|ay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav. Ju|v 21. 2005, at 9:00 a.m., in Courtroom 3. ch Fioor of the
Federa| Bui|ding, l\/|ernphis, TN.

The period from |V|ay 19, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(i\/) becausethe ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this §[ day Of |V|ay, 2005.

MM

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This notice confirms a copy of the document docketed as number 16 in
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Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

April Rose Goode

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

